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the Children’s Code
14 October 2021
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  1. Executive summary
  1.1 The Commissioner’s work to protect children’s data online
  The Children’s code (formally known as the Age appropriate design code) is a
  statutory data protection code of practice. It applies to providers or Information
  Society Services (ISS)1 likely to be accessed by children, such as apps, online
  games, and web and social media sites.

  The code contains 15 standards of age appropriate design. The code aims not to
  protect children from the digital world but to protect them within it by ensuring
  online services are designed with children in mind. The code entered into full
  effect from 2 September 2021.

  One of the standards is age appropriate application, and taking a risk based
  approach to recognising the individual age of users and apply the Code’s
  standards to children. The Commissioner recognises that age assurance may
  require processing of personal data beyond that involved in the delivery of a
  core service. However, the risks to children online are very real. This Opinion
  explains how age assurance can form part of an appropriate and proportionate
  approach to reducing or eliminating these risks and conforming to the code.

  As part of the Digital Regulation Cooperation Forum (DRCF) the ICO and Ofcom
  are working together to understand and address the broad range of online safety
  risks for children online and to ensure coherence between different regulatory
  regimes.

  1.2 What is the purpose of this Opinion?
  This Opinion is for providers of ISS in scope of the code, and providers of age
  assurance products, services and applications that those ISS may use to
  conform with the code. It sets out how the Commissioner currently expects ISS
  to meet the code’s age-appropriate application standard. It outlines a risk-based
  approach for organisations to apply age assurance measures that are
  appropriate for their use of children’s data and organisational context.

  The code sets out guidance on how to comply with the UK GDPR. Organisations
  must also consider the ICO’s general guidance.

  For ease of reference we use:

            a child (as defined in the code) as any individual under the age of 18
             years;



  1
      ‘Information Society Service’ is defined as “any service normally provided for remuneration, at a distance, by
       electronic means and at the individual request of a recipient of services.” See Services covered by this code |
       ICO




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            “organisations” to refer to providers of ISS and age assurance services
             collectively, as the nature of the relationship between them (controller-
             processor or joint controllers) may vary depending on circumstances2; and
            ISS activities to refer to processing of personal data for the purpose of
             providing the ISS.

  1.3 What is age assurance?
  “Age assurance” refers collectively to approaches used to:

            provide assurance that children are unable to access adult, harmful or
             otherwise inappropriate content when using ISS; and
            estimate or establish the age of a user so that ISS can be tailored to their
             needs and protections appropriate to their age.

  We use two additional terms throughout this Opinion that describe different age
  assurance approaches:

            Age verification: Determining a person’s age with a high level of
             certainty by checking against trusted, verifiable records of data.
            Age estimation: Estimating a person’s age, often by algorithmic means.
             Outputs vary from a binary determination as to whether someone is or is
             not an adult, through to placing an individual in an age category.

  Age verification is commonly used to establish whether someone is an adult,
  particularly where a high degree of certainty is required. For example, to ensure
  children are not able to access age-restricted products and services.

  Some products and services have age guidance or restrictions lower than 18. It
  is beyond the scope of this Opinion to cover this in detail, but age assurance can
  still be applied.

  A range of approaches to age estimation are in use and evolving. These are used
  for a variety of applications, including for risk assurance and management of ISS
  and to support personalised advertising and service personalisation.

  1.4 What is an Opinion and why are we publishing this now?
  Article 58(3)(b) of the UK General Data Protection Regulation (UK GDPR) and
  section 115(3)(b) of the Data Protection Act 2018 (DPA 2018) allow the
  Information Commissioner to issue Opinions to Parliament, government, other
  institutions or bodies as well as the public, on any issue related to the protection
  of personal data.

  The Commissioner can issue Opinions on her own initiative or on request.


  2
      Controllers, joint controllers and processors | ICO




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  Stakeholders engaged during the code’s transition period have sought further
  information to inform their approach to age assurance, which remains
  challenging for many organisations. In particular, organisations have sought
  more clarity from the Commissioner on:

            the levels of risk arising from different types of data processing and the
             commensurate level of age certainty required to identify child users and
             mitigate the risks;
            the level of certainty that various age assurance solutions provide, and
             confirmation of which providers or types of solutions comply with data
             protection requirements; and
            how to collect the additional personal data required for age assurance
             while complying with the data minimisation principle.

  This Opinion provides the Commissioner’s current view on these issues, including
  how organisations can ensure age assurance is done in a compliant way. It is
  based on existing legislation, standards, guidance and developments as at the
  time of publication. It may inform the Commissioner’s approach to regulatory
  action relating to the code.

  We will review this Opinion as part of the planned, overall review of the
  Children’s code in September 2022. In the meantime, we will continue to engage
  with stakeholders to gather evidence and feedback to inform this review. The
  Commissioner reserves the right to make changes or form a different view based
  on further findings or changes in circumstances. For example, the Commissioner
  acknowledges that the age assurance market is developing rapidly and will keep
  these issues under review as a result.

  1.5 What are the Commissioner’s expectations for age-
      appropriate application in the Children’s code?
  Standard 3 of the code on age-appropriate application requires organisations to:

             “Take a risk based approach to recognising the age of individual users and
            … effectively apply the standards in this code to child users. Either establish
            age with a level of certainty that is appropriate to the risks to the rights
            and freedoms of children that arise from your data processing, or apply the
            standards in this code to all your users instead.”3

  The Commissioner’s expectations for conforming with this standard are set out
  in the table below. As noted in standard 2 of the code,4 ISS likely to be accessed
  by children must carry out a DPIA which includes an assessment of the risks to
  children that arise from their data processing.

  3
      3. Age appropriate application | ICO
  4
      2. Data protection impact assessments | ICO




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  Children’s
                      Risk criteria               Age assurance expectations
  risk level

  High                ISS activities              If any high risks cannot be mitigated, then
                      which are likely to         they should consult with the ICO prior to
                      result in high risk         commencing the ISS activities, in line with
                      to children’s rights        Article 36 of the UK GDPR5.
                      and freedoms.
                                                  Organisations should either:

                                                     a) apply all relevant code standards to all
                                                        users to ensure risks to children are
                                                        mitigated; or
                                                     b) introduce age assurance measures that
                                                        give the highest possible level of
                                                        certainty on age of users.

                                                  This may take into account the products
                                                  currently available in the market, and the
                                                  potential risk to children.

  Medium              ISS activities              Organisations should either:
  or low              which are likely to
                      result in medium               a) apply all relevant code standards to all
                      or low risks to                   users to ensure risks to children are
                      children’s rights                 low; or
                      and freedoms.                  b) introduce age assurance measures that
                                                        give a level of certainty on the age of
                                                        child users that is proportionate to the
                                                        potential risks to children.


  Age assurance should be used to minimise risks to children. It should also
  ensure relevant aspects of the ISS (eg privacy information) which children are
  intended to access, are appropriate to those users.

  Annex 1 summarises the steps that organisations should follow to decide
  whether age assurance is applicable to their ISS. Annex 2 provides further
  details about current and emerging approaches to age assurance.




  5
      Do we need to consult the ICO? | ICO




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  1.6 What data protection principles must age assurance
      providers meet?
  Processing of personal data for the purposes of age assurance must comply with
  the UK GDPR and DPA 2018, and respect the privacy of children during both the
  development and application of any technique.

  Organisations must also assess the risks and potential harms arising from age
  assurance. They must put in place appropriate technical and organisational
  measures to safeguard children and adults from these risks. Organisations must
  ensure that their use of age assurance complies with the following principles:6

            Lawfulness – there must be an appropriate lawful basis for the
             processing.
            Fairness – including the ability for users to challenge incorrect decisions;
            Transparency – children and adults must be aware that age assurance is
             being done, and how decisions are made.
            Purpose limitation – do not use data obtained for age assurance for any
             other purpose.
            Data minimisation – use only the data that is necessary for the age
             assurance and do not retain it longer than needed.
            Accuracy – data must be accurate and data subjects must be able to
             correct inaccurate data and challenge incorrect decisions.
            Storage limitation – data for age assurance should not be kept for any
             longer than necessary.
            Integrity and confidentiality (security) – organisations must ensure
             that any data processing in the context of age assurance is done securely
             using appropriate technical and organisational measures.

  1.7 Next steps
  The Commissioner recognises the balance required to protect privacy whilst
  protecting children in a better online world. This Opinion sets expectations to
  support the development of age assurance methods in a way that ensures data
  protection by design and default.7

  The code entered into full effect from 2 September 2021, including standard 3
  on age appropriate application. While the Commissioner appreciates the
  developments in age assurance techniques, technology and policy, more needs
  to be done to ensure these respect and comply with data protection law. The

  6
      The principles | ICO
  7
      ‘Data protection by design and default’ is a requirement in the UK GDPR whereby organisations must
       integrate data protection concerns into every aspect of their processing activities. It is a key element of the
       UK GDPR’s risk-based approach and its focus on accountability. Further information can be found at Data
       protection by design and default | ICO




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  Commissioner supports this work but expects to see continued steps being taken
  in the maturity of organisations’ conforming with the code.

  Organisations should evidence and record their assessment of risks and
  decisions they take, including on the age appropriate application standard. This
  will ensure accountability for the decisions taken and enable organisations to
  demonstrate their approach, even if it is evolving. This is also evidence the ICO
  can consider if a complaint is brought about an ISS or it comes to the ICO’s
  attention.

  A summary of the expected economic costs and benefits of age assurance is
  included at Annex 3.

  Due to the rapidly evolving state of the age assurance market, wider legislative
  proposals and developing policy landscape, we will revisit this Opinion in line
  with the planned review of the Children’s code in 2022. We will continue to
  engage with key stakeholders, including Ofcom, the Children’s Commissioner,
  Government, industry and civil society to develop our understanding of emerging
  age assurance approaches. It is likely that our work with Ofcom will become
  more extensive given their role as regulator for video sharing platforms (VSPs)8
  and future regulator for online safety. We will work together with Ofcom and
  other regulators to ensure a coherent approach, particularly in the event that we
  engage with the same ISS at the same time.

  As part of this, we welcome engagement from interested parties, particularly
  about evidence of emerging age assurance techniques and their accuracy. This
  will help businesses to ensure that age assurance does not degrade the
  experience of using their ISS at the same time as facilitating the optimal
  solutions and protections for children.9

  The Commissioner is also keen to support the development of age estimation
  approaches and data protection by design. This will build on the work we have
  done in our regulatory Sandbox and our approval of certification schemes that
  address age estimation, UK GDPR compliance and conforming with the code.

  The Commissioner will take action in the event that personal data is misused
  under the guise of or during processing for age assurance.




  8
    Ofcom regulates VSPs established in the UK to ensure they take appropriate measures to protect children
    from potentially harmful material in videos. More information about Ofcom’s VSP regulation can be found
    here
  9
    Blog: How the digital design community can help shape the ICO’s work on the Children’s code | ICOS




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  2. Introduction
  An overarching aim of the code is to ensure that all children are given an age-
  appropriate level of protection.

  Age assurance is an important part of the most fundamental standard in the
  code: considering the best interests of the child.10 The United Nations Convention
  on the Rights of the Child (UNCRC) (and the code) states that:

             “In all actions concerning children, whether undertaken by public or private
             social welfare institutions, courts of law, administrative authorities or
             legislative bodies, the best interests of the child shall be a primary
             consideration.”

  While the code does not mandate the adoption of any one solution, age
  assurance techniques can play an important role in how you achieve this
  outcome. For example, age assurance may:

             protect children from harms arising from the processing of their personal
              data;
             enable information to be provided to children about how their data will be
              collected, processed and used, in a way appropriate to their age group
              whilst using ISS; and
             protect children from intrusive activities such as profiling, marketing and
              behavioural advertising.

  However age assurance must be used carefully as it carries its own types of risk.
  For example, it:

             may be disproportionately intrusive. For example, age verification checks
              often require access to official data or documentation which can include
              special category data;
             may introduce risks of bias and inaccuracy. For example, some emerging
              approaches to age estimation are based on profiling or facial analysis
              using AI;
             may result in exclusion or discrimination of already marginalised groups
              due to bias, inaccuracy or requirements for official documentation. Those
              in more deprived socio-economic groups are more likely to lack requisite
              documentation, and more likely to be affected by algorithmic bias. Non-
              white ethnicities and people with disabilities are over-represented in these
              groups. Individuals may be unable to use some types of age assurance
              due to physical or cognitive reasons and risk being excluded from services
              they are entitled to access;

  10
       1. Best interests of the child | ICO




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        is not fool-proof. Any approach has some risk of incorrectly classifying a
         child as an adult or as an older child. This could potentially allow them
         access to inappropriate or harmful services or material. Conversely, an
         adult may be incorrectly classified as a child, and be denied access to
         services they are legally entitled to use; and
        some methods can be circumvented. For example, a child or parent could
         provide false information in a self-declaration or a child could log into their
         parent’s account to complete account confirmation.

  The onus is on organisations to show that their approach is lawful, effective and
  proportionate. This Opinion sets out how organisations should approach age
  assurance and compliance with the code.

  2.1 Scope of this Opinion
  This Opinion is aimed at ISS and age assurance providers. It builds on the
  guidance in standard 3 of the code. It describes a risks and standards
  based approach to age assurance that will help ISS choose the right approach
  for their circumstances in order to meet that standard.

  This Opinion applies specifically to the use of age assurance to support ISS’ to
  conform with the code. It does not apply to the use of age assurance in
  circumstances outside the code, such as in physical spaces like retail settings or
  as a means of restricting access to ISS that provide adult content or services.
  We are working in co-operation with other regulators to ensure a coherent
  approach.

  This Opinion will be useful to those organisations who seek to use age assurance
  to prevent their services being accessed by children. For example, online
  retailers of alcohol. This will help them to comply with their obligations under the
  UK GDPR and wider regulatory frameworks. However, it is not written solely for
  these circumstances, so organisations will need to assess the relevance and
  applicability of this Opinion to their circumstances.

  2.2 References to legislation
  This Opinion relates specifically to:

        Data Protection Act 2018 (DPA 2018);
        UK General Data Protection Regulation (UK GDPR); and
        Privacy and Electronic Communications Regulations 2003 (PECR).

  2.3 Methods of age assurance
  Organisations have a fundamental choice when managing the risks posed to
  children by their ISS. They may choose to:




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        use age assurance to identify children to a level of certainty proportionate
         to the risks of their using the ISS, and to ensure that the standards of the
         code are applied to all child users. For example, by providing a
         differentiated ISS, or not allowing children to access the ISS; or
        apply the standards of the code to all users of the ISS if they are unable
         (or do not wish) to use age assurance.

  There are four main approaches to age assurance as described below. Each
  approach has strengths and drawbacks, and can be used to manage different
  levels or types of risk. In some circumstances, a combination of different age
  assurance approaches may be effective. This depends on the nature of the risks
  being addressed and the potential harms to children linked to those risks. The
  Commissioner emphasises that the risks and harms faced by children online are
  real, and that age assurance can be an important part of an appropriate and
  proportionate response.

  When deciding how to implement age assurance, organisations should consider
  whether less privacy-intrusive approaches can achieve the same objective.

  2.3.1 Age verification
  Age verification refers to determining a person’s age with a high level of
  accuracy by checking against trusted records of data. Approaches to age
  verification include:

        hard identifiers: confirming age using solutions that link back to identity
         documents or officially held data, such as a passport or credit card. This
         can be done by the user, or another party, for example a parent, guardian
         or teacher; and
        third party services: age verification may be outsourced to a third party
         using any or all of the techniques listed.

  Age verification offers a high level of certainty, but must be used in proportion to
  the identified risks to children. There is a risk of indirectly discriminating against
  individuals who lack the necessary documentation or data, such as credit
  history.

  Organisations that do not intend to use age assurance must take alternative
  measures proportionate to the risk to children, such as applying the code to the
  whole of their ISS and all of their users. The flowchart at Annex 1 (below)
  illustrates this.

  See Annex 2 (below) for further information on the use of age verification for
  age assurance in the code.




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  2.3.2 Age estimation
  Age estimation refers to the estimation of a person’s age, usually by algorithmic
  means. It is a catch-all term for a suite of AI-based or AI-assisted technologies
  that can estimate an individual’s age within a margin of error. It may involve
  biometric data or profiling or both.

  Age estimation:

        can provide more granular determination of age, allowing differentiation of
         service where this is helpful to users (eg enhancing the age appropriate
         user experience);
        does not require documentary evidence or checks of official databases and
         so may be designed in a more privacy-friendly way than age verification;
         and
        can be used to verify if users have been wrongly classified as children or
         adults, and their identity corrected, if employed in ongoing monitoring.

  Age estimation techniques can accurately determine whether an individual’s age
  is within a specified range. The range may be comparatively wide. For this
  reason, age estimation alone may not provide sufficient certainty for ISS
  activities which are high risk to children.

  Age estimation based on profiling is likely to be privacy intrusive but can offer a
  means to automatically identify under-age users. Age estimation based on
  biometrics, such as facial or hand geometry, has the potential to be more
  privacy friendly if data minimisation and purpose limitation are applied
  rigorously.

  The market for age estimation has the potential to develop rapidly, and the
  Commissioner will keep these issues under review. The Commissioner expects
  these technologies to be developed in line with the principles of data protection
  by design and by default. They should therefore come to fruition in a data
  protection-compliant way. The Commissioner will continue to engage with
  organisations to address age estimation, UK GDPR and code compliance. This
  builds on the work done in our Sandbox and approval of certification schemes.

  See Annex 2 for further information on the use of age estimation for age
  assurance to conform with the code.

  2.3.3 Account confirmation
  Account confirmation enables an existing account holder to confirm that a user is
  over or under 18, or the age of the user. The ISS can then provide the user with
  an age-appropriate version.




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  For example, in a family account, the main account holder can confirm the age
  of the people using the other account profiles. The service can then be applied in
  an age appropriate way to each user.

  Account confirmation is useful for lower risk services, or if done in addition to
  other age assurance methods. It has limitations that mean it is unlikely to be
  sufficient when used as the only age assurance measure in high risk ISS
  activities. This is because it:

            requires active engagement, willingness and a level of IT knowledge from
             the parent or guardian;
            relies on notifications to parents when action is required, which may lead
             to fatigue;
            depends on the parents having the capability and capacity to manage
             their child’s ISS experience (and thus carries some risk of discrimination if
             relied upon solely);
            may require the parent’s age or identity to be confirmed if they are used
             to manage access by children to higher risk services;
            can be bypassed by knowledgeable children or by parents willing to put in
             an inaccurate age to allow a child to use an inappropriate service, putting
             the ISS at risk of breaching the code; and
            may cause conflict between parents or guardians if there is disagreement
             between them.

  Account confirmation may involve processing the data of both the original
  account holder (usually a parent) and the confirmed account holder (usually a
  child).11

  See Annex 2 for further information on the use of parental controls for age
  assurance to conform with the Children’s code.

  2.3.4 Self-declaration
  Self-declaration is where a user states their age but does not provide any
  evidence to confirm it.

  It may be suitable for low risk ISS activities or when used in conjunction with
  other techniques. It does not significantly mitigate risk as it is based on trust
  and can be circumvented, even if additional technical measures are applied.
  However, it enables the ISS to be customised to the needs of different age
  groups where the risks to children are low. For example a website whose main
  purpose is just to provide useful information.

  There are technical measures that can strengthen self-declaration. For example:

  11
       11. Parental controls | ICO




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        preventing the user from immediately attempting to re-register if they are
         denied access on first declaration; or
        closing the accounts of users discovered to be underage.

  These measures are not difficult to bypass for determined or knowledgeable
  children.

  Self-declaration can be minimally intrusive. For example, users are asked to put
  themselves in an age bracket rather than provide date of birth. However,
  consideration needs to be given to the effectiveness of this, particularly about
  the age brackets chosen.

  2.4 Age assurance and discrimination
  Age assurance may produce discriminatory outcomes. Two examples are listed
  below:

        Age verification usually depends on the user having ready access to
         official documentation, or a credit history. This is an issue for:
            o   young adults;
            o   those with protected characteristics; and
            o   those from deprived backgrounds (in which people with disabilities
                or of non-white ethnicity are over-represented), who may not have
                access to such documentation and so be unable to access the ISS.
        Age estimation carries risks from algorithmic bias. Systems based on
         biometrics such as hand or facial structure may perform poorly for people
         of non-white ethnicity, or for those with medical conditions or disabilities
         that affect physical appearance. There is also a risk from newer
         techniques that have not been effectively tested or screened for these
         risks.

  The risk of discrimination is heightened for those individuals with multiple
  protected characteristics, so organisations must consider how to mitigate those
  risks.

  Discriminatory outcomes may be in breach of both the Equality Act 2010, and
  UK GDPR (since processing with discriminatory outcomes is unlikely to be fair).

  Organisations must consider their obligations under the Equality Act. As part of
  this, it is very important that age assurance incorporates reasonable
  adjustments for disabled persons, such as offering alternative methods for age
  assurance. Also, there must be an accessible process for users to challenge an
  incorrect age assurance decision.




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  3. How we expect age-appropriate application
     to be carried out
  This chapter outlines our expectations of how an ISS provider should approach
  age assurance when applying the code.

  Standard 3 on age-appropriate application advises organisations to:

       “Take a risk based approach to recognising the age of individual users and
       … effectively apply the standards in this code to child users. Either establish
       age with a level of certainty that is appropriate to the risks to the rights
       and freedoms of children that arise from your data processing, or apply the
       standards in this code to all your users instead.”

  In the following sections, we outline our expectations for organisations to take a
  risk-based approach to age assurance when applying the code to its ISS.

  3.1 How the code defines risk
  Many data-related risks faced by children are similar to those faced by adults.
  However, in many cases both the likelihood and severity of harms are greater
  for children than adults.

  Recital 38 of the UK GDPR emphasises that:

       “children merit specific protection with regard to their personal data, as
       they may be less aware of the risks, consequences and safeguards
       concerned and their rights in relation to the processing…”

  These protections and safeguards are collectively articulated by the code’s
  standards.

  Standard 1 states that:

       “The best interests of the child should be a primary consideration when you
       design and develop online services likely to be accessed by a child.”

  In order to apply this standard, the organisation must use the UNCRC to identify
  and assess data-related risks to children. The UNRC describes children’s
  universal rights and freedoms, which when contravened are likely to harm
  children.




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  The ICO has developed a “Best interests framework” to support organisations to
  apply the UNCRC and identify where ISS activities pose risks to children12 For
  example:

          life, survival and development (Article 6 of the UNCRC): geolocation data
           sharing leading to physical harm (for example through stalking);
          protection from economic exploitation (Article 32 of the UNCRC):
           personalised advertising or sharing of children’s data for commercial gain
           without safeguards; and
          development and preservation of identity (Article 8 of the UNCRC):
           sharing identity data with third parties or profiling that infers identity
           characteristics without safeguards.

  The code and the Best interests framework, only cover risks that arise
  from processing personal data. Risks to children not related to data
  processing are outside the scope of the code. For example, general online safety
  risks that data plays no role in.

  3.2 ISS activities likely to result in high-risk to children
  The code sets standards for certain ISS activities which are likely to result in
  high-risk to children.13

  The nature of some ISS activities means they carry more inherent risk than
  others. For example, where they are more intrusive, opaque, or inform decisions
  that have significant impacts on individuals.

  The Commissioner publishes guidance on data processing activities that are
  considered “likely to result in high risks” to data subjects (covering both adults
  and children).14 This includes large-scale profiling, invisible processing and
  tracking.

  The code draws upon this list and evidence gathered through the code
  consultation process and the ICO’s Towards a better digital future15 research. It
  sets standards for certain data processing where risks to children are likely to be
  high, for example around profiling and data sharing.

  Taking all these areas into account, the Commissioner considers that the
  following ISS activities are likely to result in high risks to children:

          Large-scale profiling of children. For example, to identify children as
           belonging to particular groups, for automated decision-making, analysing
           social networks, or to infer interests and behaviours.

  12
     https://ico.org.uk/media/for-organisations/documents/2618906/childrens-code-harm-framework-beta.xlsx
  13
     2. Data protection impact assessments | ICO
  14
     Examples of processing ‘likely to result in high risk’ and so require a Data Protection Impact Assessment.
     ICO
  15
     Towards a better digital future Informing the Age Appropriate Design Code (ico.org.uk)




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            Invisible processing of children’s data that the ISS did not obtain
             directly from users. Examples include list brokering, data sharing with
             third parties, and online tracking of children.
            Targeting of children for marketing and advertising. For example,
             personalising marketing content based on children’s data.
            Tracking of children. This includes the child’s use of ISS and digital
             proxies for offline activity, such as geolocation. For example, web and
             cross-device tracking, fitness or lifestyle monitoring using connected
             devices and ISS reward schemes.
            ISS activities with risks of physical or developmental harm to
             children. For example, if there was a personal data breach or through
             data sharing (with third parties or other ISS users). For example, data
             that reveals children’s physical location or health, or which could expose
             children to unsafe or age-inappropriate products and services.
            ISS activities with risks of detrimental use.16 For example, processing
             which is demonstrably against children’s wellbeing, as defined by other
             regulatory provisions, government advice, or industry codes of practice.

  In a DPIA17 (or another assessment) organisations may decide that some ISS
  activities are likely to result in a high risk to children.

  Alternatively, organisations may decide that in their particular circumstances,
  the activities are not high risk in themselves, or that measures to mitigate the
  risk can reduce it to medium or low. In this case, we would expect to be
  provided with the organisation’s DPIA or other supporting evidence to show how
  the risk has been assessed or mitigated or both.

  3.3 Age assurance certainty and risk levels
  3.3.1 High risk processing of children’s data
  For the purpose of the code, we define high risk activities as data processing
  that:

            the Commissioner considers “likely to result in high risk to children” (as
             set out in section 3.2); or
            the ISS’ risk assessment indicates risks to children’s rights and freedoms
             are high.

  That is, the likelihood of harm to children occurring is high, or the impact of the
  harm is not minimal; or there is a reasonable possibility of serious harm
  occurring.


  16
       5. Detrimental use of data | ICO
  17
       Standard 2 sets out that organisations should always carry out a DPIA.




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  ISS must either:

            apply all relevant code standards to all users to ensure risks to children
             are low, or;
            introduce age assurance measures that give the highest possible level of
             certainty on age of users – accounting for products currently available in
             the market, their organisation’s technical capabilities and resources.

  If neither of these approaches are taken, the Commissioner expects that
  organisations will consult with the ICO prior to commencing the processing, as
  there are likely to be residual high risks to children. Failure to do so may be seen
  as an aggravating factor in any regulatory action the Commissioner takes. In
  addition, the ISS should have completed a DPIA. If they are unable to mitigate
  any high risks to children, they must have consulted the ICO prior to
  commencing the processing, in line with Article 36 of the UK GDPR18

  Any data processing for age assurance must comply with UK GDPR. This includes
  all principles outlined in section 4 and be proportionate. Age assurance measures
  must not result in a net increase in risks to all data subjects (relative to the risks
  to children that would be present without the age assurance measure).

  3.3.2 Other processing of children’s data
  Where an ISS assesses that the level of risk to children is below the thresholds
  set out above, it can:

            apply all relevant code standards to all users to ensure risks to children
             are low;
            introduce age assurance measures that give a level of certainty on the age
             of child users that is proportionate to the risks that arise from processing
             their data. This assurance should be used to minimise risks and ensure
             relevant aspects of the service (eg privacy information) are accessible and
             appropriate to those users; or
            self-declare, which may be appropriate for some low risk services (or
             enhanced self-declaration using technical measures – see Annex 2 for
             details). This is especially where there is minimal scope for services being
             tailored for different age groups.

  The use of data processing for age assurance must:

            comply with UK GDPR, including all principles outlined in section 4; and
            be proportionate. Age assurance measures must not result in a net
             increase in risks to all data subjects (relative to the risks to children that
             would be present without the age assurance measure).


  18
       Do we need to consult the ICO? | ICO




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  For the purposes of the expectations and definitions set out above, the
  Commissioner clarifies several key points.

  ISS should conduct their risk assessment through their DPIA, and follow the
  relevant steps and standards outlined in the code’s DPIA standard.19 General
  information is also provided in the ICO’s detailed guidance on DPIAs20

  The expectations are for high-risk services to introduce measures with the
  “highest possible level of certainty on age of users” (as opposed to specifying
  specific appropriate measures). This acknowledges that the certainty of a given
  measure will vary across services. This is due to a range of factors including
  technical feasibility, whether a service is used by authenticated or non-
  authenticated users, and the age ranges and capabilities of users.

  The Commissioner will take into account the products currently available in the
  age assurance marketplace when considering whether an organisation has
  conformed with the code. The Commissioner will also continue to take into
  account the impact of the potential economic burden our actions can place on
  organisations through her work, as outlined in the ICO’s regulatory approach.21

  The expectation of “highest possible” certainty on age of users for high-risk
  services reflects both of these commitments. The Commissioner will not expect
  services to implement age assurance measures that:

          are not currently technically feasible; or
          pose a significant and disproportionate economic impact on their business.

  ISS will however be expected to demonstrate that they have considered all
  possible age assurance options. They should also evidence disproportionate
  costs, disproportionate impact on data subjects, or technical explanations for
  why they are not using age assurance measures that may provide higher
  certainty.

  The ecosystem for age assurance standards is developing. The Commissioner
  will take into account adherence to such standards when considering whether
  ISS are deploying age assurance measures of an appropriate level of certainty.

  3.4 Age-restricted services and the Children’s code
  For services that are age-restricted in law, the code should not lead to the
  perverse outcome of these providers having to make their services child-friendly,
  for example, adult content and services. Providers of such services should focus
  on preventing their access by children. We will continue to work with OFCOM and
  the DRCF to ensure that these broader online safety risks are managed. If a

  19
     2. Data protection impact assessments | ICO
  20
     Data Protection Impact Assessments (DPIAs) | ICO
  21
     ICO regulatory approach




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  service is not intended for children to use and is age-restricted, then the focus
  should be on preventing access. In this case, the code does not apply but
  services should make sure that their service is not likely to be accessed by
  children, either by ensuring it does not appeal to them, or that they cannot
  access it if it does.




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  4. Expectations for age assurance data
     protection compliance
  This chapter outlines the main data protection principles and requirements that
  we expect to be taken into account in the context of age assurance. This covers
  only those relating to an organisations processing for age assurance (and not
  delivering the service or platform). The considerations set out are not specific to
  any particular approach or technology but apply wherever age assurance is used
  about the code. Those implementing age assurance systems therefore must:

            consider the risks to children that arise from their platform or service;
            determine whether age assurance of users is required; and
            select an approach that is appropriate and proportionate to the risk.

  Age assurance providers should ensure that they embed data protection into the
  design of their products, services and applications.

  4.1 Principles
  Article 5 of the UK GDPR sets out seven key principles which lie at the heart of
  data protection. Organisations should follow these when processing any personal
  data. The Commissioner has published guidance on these principles22. This
  section of the Opinion provides key considerations about how these principles
  relate to age assurance. Note that UK GDPR considers lawfulness, fairness and
  transparency together as one principle. We have separated them here for clarity.

  4.1.1 Lawfulness
  Any processing of personal data must be lawful. This means organisations need
  to identify a lawful basis to process personal data for age assurance purposes.

  Most lawful bases require processing to be necessary for a specific purpose. To
  be necessary, processing does not have to be absolutely essential, but it must
  be more than just useful and standard practice.

  Age assurance must therefore be a targeted and proportionate way of achieving
  the objective of ensuring age-appropriate application of your services. The
  processing will not be lawful if you can reasonably achieve this purpose by other
  less intrusive means, or by processing less data.

  Processing for age assurance that involves biometric data is discussed in section
  4.2.1.




  22
       The principles | ICO




                                                                                         22
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  The Commissioner has issued detailed guidance on the available lawful bases
  and an interactive tool23 that can assist organisations to identify the most
  appropriate one for their circumstances.

  If no lawful basis applies, then the processing is unlawful and infringes this
  principle.

  4.1.2 Fairness
  Any processing of personal data for age assurance must be fair. This means it
  must not be processed in a way that is detrimental or misleading and no user
  should be discriminated against. The Commissioner expects organisations using
  age assurance to take action to scrutinise and minimise any potential bias in
  their approach to age assurance. They should also continually seek to improve
  the performance of their approach in this area.24

  In general, fairness means that organisations should only handle the personal
  data they are processing for age assurance, in ways that people would
  reasonably expect. They should also not use it in ways that have unjustified,
  adverse effects on them. ISS may wish to use market research or user testing to
  help establish reasonable expectations in this context. Standard 5 of the code
  requires that organisations should not process children’s personal data in ways
  that are obviously, or have been shown to be, detrimental to their health or
  wellbeing. To do so would not be fair.

  An important aspect of fairness is ensuring that users have an effective way to
  challenge an age assurance decision if they believe it is incorrect.

  4.1.3 Transparency
  Organisations need to be clear, open and honest about how they use personal
  data for age assurance purposes, and how they make decisions as a result.
  Standard 4 of the code provides advice on presenting this type of information to
  children.25 ISS should consider how age assurance fits in to their overall user
  journey and experience to determine how and when it is best to provide users
  with this type of information.

  Regardless of the method used for age assurance, it is important to explain
  clearly and appropriately to individuals:

          why an age assurance step is being used;
          what data is needed for age assurance;
          whether a third party will be used to carry out the age assurance check;



  23
     Lawful basis interactive guidance tool | ICO
  24
     Section 4.2 sets out additional considerations where age assurance uses AI.
  25
     4. Transparency | ICO and designing-data-transparency-for-children.pdf (ico.org.uk)




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            how the data is used and how it will affect the user’s experience of the
             platform or service;
            whether data collected for age assurance will be retained, how and why;
            how an incorrect age assurance decision can be challenged; and
            how they can exercise their data protection rights.

  If an age assurance method involves automated decision-making, organisations
  must be able to explain how this decision is arrived at, in a way that users can
  understand.

  Transparency is fundamentally linked to fairness. If organisations are not clear
  and transparent about how they will process users’ personal data for age
  assurance, it is unlikely that their processing will be fair.

  4.1.4 Purpose limitation
  Personal data must only be processed for specific and legitimate purposes, and
  not further processed in a manner incompatible with those purposes. Purpose
  limitation is a fundamental aspect of transparency, fairness, and data protection
  by design.

  Organisations implementing an age assurance system need to:

            be clear about what personal data it processes;
            be clear about why they want to process it;
            ensure they only collect the minimum amount of data they need to
             establish an appropriate level of certainty about the age of their users;
             and
            ensure they do not use personal data collected for these purposes for any
             other purpose, unless the new purpose is compatible.

  Developers of age assurance systems need to ensure that they build their
  systems with data protection in mind.

  Data collected for age assurance should not be re-used for purposes such as
  profiling for advertising, or in other ways that are incompatible with the
  purposes for which the data has been collected. The code provides guidance
  about purposes which are considered likely to be incompatible26. Standard 9 of
  the code notes that organisations should not share children’s data unless they
  can demonstrate a compelling reason to do so, taking account of the best
  interests of the child.27 Therefore, organisations need to ensure that they do not
  share children’s age assurance data unless there is a compelling reason to do so.



  26
       12. Profiling | ICO
  27
       9. Data sharing | ICO




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  4.1.5 Data minimisation
  Organisations using age assurance must apply data minimisation to their chosen
  approach. Any data processed for age assurance purposes must be:

            adequate – sufficient to properly achieve the stated purpose of age
             assurance;
            relevant – has a rational link to that purpose; and
            limited to what is necessary (ie is not processed more than is needed for
             that purpose).

  UK GDPR requires organisations to:

            be clear about the purposes for which they collect personal data;
            only collect the minimum amount of personal data needed for those
             purposes; and
            only store that data for the minimum amount of time required.

  Organisations need to differentiate between each individual element of their
  service and consider what personal data they need, and for how long, to deliver
  each one. Standard 8 of the code provides advice on meeting this
  requirement.28

  The Commissioner recognises that age assurance may require processing of
  personal data beyond that involved in the delivery of a core service. However,
  the risks to children online are very real. The Commissioner considers that,
  provided this processing is limited to what is necessary and proportionate, the
  use of age assurance is, in many cases, likely to be an appropriate way of
  reducing the risk of harm to children online while complying with the data
  minimisation principle.

  To ensure compliance with data minimisation requirements, organisations must
  ensure that they only use data necessary to undertake age assurance. What is
  necessary will be linked to what is proportionate for the circumstances. A service
  or platform that poses a low risk to children is likely to need to process less data
  to assess the age of users than one that poses a high risk to children. If
  reasonable adjustments for some users are required for equality purposes,
  organisations may need to collect more personal data than they would
  otherwise.

  For example, in many cases organisations will not need to see a full passport or
  official document. This is because they can use a method of age assurance that
  processes less data whilst still proportionate to the risks faced by children. In
  a high risk scenario it may be necessary to collect more data to verify a user’s
  age, compared to a low risk scenario. In either case, organisations need to

  28
       8. Data minimisation | ICO




                                                                                     25
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  justify why the data they want to process is necessary to achieve the purpose of
  age assurance.

  The use of third-party suppliers has the potential to limit the data an
  organisation processes directly, and this may be a factor in its approach to data
  protection compliance. For example, an organisation may simply receive a ‘yes
  or no’ outcome of whether the user is under or over 18, rather than processing a
  copy of the user’s passport or identity document. However, the organisation
  remains responsible for the processing activities overall, if the external supplier
  is processing personal data on the organisation’s behalf to achieve this ‘yes or
  no’ outcome.

  4.1.6 Accuracy
  Accuracy is particularly important in the context of age assurance,29 and
  organisations must monitor and consider carefully any challenges to the
  accuracy of data. Data subjects have the right to correct any inaccuracies in
  their personal data.30 ISS developing in-house age assurance solutions should
  ensure they are tested for accuracy, and those using external solutions should
  seek evidence from their suppliers.

  The two main incorrect outcomes for age assurance are:

       1. an adult who is wrongly identified as a child, or a child wrongly identified
          as younger than they really are is denied access to a platform or service
          that they should be able to use legally, or gains access to child-only
          services or forums with a maximum age limit which may result in risks to
          the child users; or
       2. a child who is wrongly identified as an adult or older than they are, is able
          to access a product or service that is restricted to adults or children of an
          older age.

  A child who is able to access services intended for adults or older children may,
  for example, unwittingly consent to data processing that leads to inappropriate
  profiling. Organisations processing data for children under 13 where there is no
  evidence of informed parental consent are not processing the data legally.
  Conversely, adults may suffer detriment or harm if they are denied access to
  services they need.

  With age estimation, there may also be a range of outcomes where older
  children are misidentified as younger, and vice-versa. There are some lesser,
  though still undesirable, consequences to this. For example, information about a
  platform or service and how it processes personal data could be provided in an
  age-inappropriate format if a child is identified as belonging to an incorrect age

  29
     This section refers to accuracy in the context of data protection, however section 3.4 comments on the
     statistical accuracy of algorithms.
  30
     Right to rectification | ICO




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  group. More seriously, it may lead to younger and more vulnerable children
  accessing parts of a platform or service that are not appropriate, putting them at
  risk of harm. More sophisticated approaches look for “red flags” that highlight
  potential errors in the original estimation.

  However, no system is fool proof. Organisations implementing age assurance
  must consider the risk that age checks may be bypassed, and the harm that
  may result from doing so. They should also consider, for both age verification
  and age estimation approaches:

          how an adult or older child wrongly denied access to part or all of a
           platform or service can challenge a decision. For example, to comply with
           the right to rectification31 and, in the case of automated decision-making,
           the UK GDPR Article 22 right to human review32;
          how a child (or their parent or guardian) wrongly identified as an adult or
           older than they are, can challenge this outcome; and
          whether the potential harm to children accessing an inappropriate
           platform or service is sufficient to justify ongoing monitoring of users. For
           example, to identify children that may have wrongly gained access. Any
           such monitoring must comply with data protection requirements.

  4.1.7 Storage limitation
  Organisations must not keep any personal data for longer than it is needed.
  Organisations must be able to justify how long they keep data collected for age
  assurance purposes and they need a policy that sets out retention periods. The
  relative level of confidence in the accuracy of an age check does erode over time
  as age assurance technology and fraud prevention improve. To maintain
  accuracy, age assurance data should not be held longer than necessary.

  Under UK GDPR, individuals including children have the right to erasure of data
  that is no longer required. Organisations must carefully consider any challenges
  to their retention of data collected for age assurance. Organisations should refer
  to ICO guidance on the right to erasure33 and data retention34 as these require
  consideration beyond the scope of this Opinion.

  4.1.8 Security
  Organisations must process personal data used for age assurance securely.35
  When implementing age assurance, organisations need to ensure that their
  system processes personal data securely. To ensure appropriate security, they
  should consider the specifics of the system and its intended outcomes, as well as

  31
     Right to rectification | ICO
  32
     The rights of individuals | ICO
  33
     Right to erasure | ICO
  34
     Principle (e): Storage limitation | ICO
  35
     Security | ICO




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  the data involved. This should form part of their considerations about risk
  analysis, organisational policies, and physical and technical measures.

  Organisations can consider the state of the art and costs of implementation
  when deciding what measures to take. However, the key is that any measures
  they put in place must be appropriate both to the circumstances and the risk the
  processing poses. If the potential risk to children is high, then organisations may
  have to put in place more costly security measures to protect them from those
  risks.

  Both in-house and third-party solutions for age assurance should therefore
  demonstrate appropriate data security measures and accountability.

  If using AI, organisations should consider the balance between transparency and
  security. For example, given sufficient technical information, there is a risk that
  a malicious actor could re-identify data subjects using a model inversion
  attack.36

  The Commissioner has provided further information about AI and security in
  guidance on AI and data protection.37

  4.1.9 Accountability
  The accountability principle means that an organisation must be able to
  demonstrate how it complies with the law in its age assurance activities.

  Organisations need to be able to demonstrate that their approach to age
  assurance is proportionate to the risks to children associated with a platform or
  service.

  A DPIA is a key accountability tool. It is good practice to carry out a DPIA at an
  early stage in the design of any product or service that involves the processing
  of personal data (even if it is not a UK GDPR requirement). This applies for age
  assurance. Standard 2 of the code explains how DPIAs fit into the wider context
  of the Children’s code.38

  Another effective method of demonstrating accountability is the use of codes of
  conduct and certification mechanisms. These enable a flexible, risk-based and
  proportionate approach. For example, a standard39 and certification scheme40
  has been in place for age assurance providers since 2018, with the latter being
  approved as a UK GDPR scheme in 2021. The Commissioner expects
  organisations that use age verification systems who are not certified to be able
  to provide other evidence that the checks they are using are effective.

  36
       Privacy attacks on AI models | ICO
  37
       Known security risks exacerbated by AI | ICO
  38
       2. Data protection impact assessments | ICO
  39
       PAS 1296 - Age Check Certification Scheme (accscheme.com)
  40
       Home - Age Check Certification Scheme (accscheme.com)




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  Age assurance may be unnecessary. For example, where an organisation
  demonstrates that the risks to children are low, and its platform or service in its
  entirety conforms to the code. Or, if all of the content or services provided by an
  ISS to all of its users conform to the code, it is likely that the disadvantages of
  age assurance would outweigh any benefit.

  In addition to the above, there are a number of accountability measures that
  organisations must take (where applicable), including:

            adopting and implementing data protection policies;
            taking a data protection by design and default approach;
            putting written contracts in place with third party verification services that
             process personal data on their behalf (these may be processors or joint
             controllers depending on the exact circumstances of their relationship41);
            maintaining documentation of their processing activities;
            implementing appropriate security measures; and
            recording and, where necessary, reporting personal data breaches.

  The Commissioner has published guidance on accountability, and has also
  produced an Accountability Framework to help organisations.42 Effective and
  appropriate use of age assurance will be a factor in any decisions that the
  Commissioner makes around regulatory action relating to the code. It is
  imperative that organisations can demonstrate this.

  4.2 Age assurance and AI
  4.2.1 Biometric data
  Age assurance may, depending on the type of technology used, involve the
  processing of biometric data in order to uniquely identify the individual accessing
  the platform or service. In that case this will be special category data under
  Article 9.

  In these cases, organisations firstly need to identify a lawful basis under Article
  6, and then a processing condition under Article 9.

  If the use of biometrics is proportionate for age assurance, given the level of risk
  to children, then it is likely that the following will apply:

            Article 9(2)(g), substantial public interest; and
            Section 10(3) of the DPA 2018 will be met through the “safeguarding of
             children and of individuals at risk” condition in Schedule 1, Para 18 of the
             DPA 2018


  41
       Controllers, joint controllers and processors | ICO
  42
       Accountability and governance | ICO




                                                                                             29
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  Organisations must demonstrate why this is the case relative to their specific
  circumstances according to the general accountability principle. They also need
  to have an appropriate policy document in place detailing compliance measures
  and retention policies (Schedule 1 Para 5 of the DPA 2018).

  The Commissioner has published detailed guidance about special category data,
  including the substantial public interest conditions in the DPA 2018.43

  Beyond biometric data, the specifics of the processing may mean that other
  special category data is involved. This also needs to satisfy a condition for
  processing.

  4.2.2 Statistical accuracy
  In many cases, the output of AI processing amounts to a statistically informed
  guess rather than a confirmed fact.44 The algorithm provides an estimate of age
  within a range, and no algorithm is 100% accurate.

  Organisations must ensure that any automated decision-making system is
  sufficiently statistically accurate and avoids unjustifiable discrimination. This
  includes systems provided or operated by third parties.45

  Organisations must decide what their minimum success criteria are for statistical
  accuracy at the initial business requirements and design phase. They need to
  bear in mind the risks their service poses to children.

  They should test their AI system against these criteria at each stage of the
  lifecycle. This includes post-deployment monitoring.

  Trade-offs may be required in the design of the algorithm. To use a simplified
  example, there is a balance between precision (‘how sure we are that someone
  has been correctly classified as under 18’) and recall ( ‘how sure we are that we
  have identified all of the under 18s trying to use a platform or service’).
  Increasing precision means a greater risk of missing some underage users,
  whereas increasing recall means more adults will be wrongly classified as
  underage. The correct balance will depend on the exact circumstances, risks and
  harms identified.45,46

  4.2.3 Algorithmic bias
  An AI algorithm is only as good as the data used to train or tune it.47,48 There are
  numerous real-world examples where discriminatory outcomes result from
  algorithms that are trained on data that does not properly represent the

  43
     Special category data | ICO
  44
     Accuracy of AI system outputs and performance measures | ICO
  45
     What do we need to do to ensure lawfulness, fairness, and transparency in AI systems? | ICO
  46
     What is precision and recall in machine learning? - Opinosis Analytics (opinosis-analytics.com)
  47
     Ethics, Fairness, and Bias in AI - KDnuggets
  48
     A Hidden Trap for CIOs: Data-set Bias in Machine Learning | CIO




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  population they will be applied to. Usually, the worst effects of such
  discrimination fall on groups who are already marginalised or vulnerable.

  Organisations should ensure that algorithms are trained using high-quality and
  relevant data sets. The Commissioner’s guidance on AI and data protection sets
  out ways in which developers can mitigate biased, discriminatory or otherwise
  unfair outcomes resulting from automated decision-making.49

  Capture bias must also be considered. This is where the device that observes
  biometric data does so inaccurately. For example, a camera used in poor lighting
  conditions may produce a photograph of the user that is not of good enough
  quality for accurate age estimation.

  4.3 Age assurance and profiling
  Profiling refers to any form of automated processing of personal data that uses
  the personal data to evaluate certain aspects relating to a person.50 Information
  is analysed to classify people into different groups or sectors, using algorithms
  and machine-learning. This analysis identifies links between different behaviours
  and characteristics to create profiles for individuals.

  Profiling can be used for age assurance (for example, through monitoring
  aspects of a user’s vocabulary and interests to identify potentially under-age
  users). If this takes place, organisations need to show that it is proportionate to
  the risks to children that it is being used to mitigate. Profiling data gathered for
  age assurance must not be used for any incompatible purpose. If profiling for
  age assurance relies on cookies, such cookies are permissible under the “strictly
  necessary” exemption.51

  The Commissioner has published detailed guidance on the rules about cookies
  and similar technologies.52




  49
     What do we need to do to ensure lawfulness, fairness, and transparency in AI systems? | ICO
  50
     Article 4(4) of the UK GDPR
  51
     12. Profiling | ICO
  52
     Cookies and similar technologies | ICO




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  5. Conclusion and next steps
  5.1 Conclusion
  Overall, the Commissioner concludes that age assurance is an important tool to
  enable platforms and services to manage the risks that children face in the
  online world.

  The information and privacy risks that apply to all users of platforms and
  services online have a greater impact on children. In particular, those associated
  with profiling and geolocation (which can also put children at risk of physical
  harm).

  The severity of these risks and harms means that the Commissioner has
  expectations that platforms and services will take the steps necessary to meet
  the code. Age assurance is a critical component of this, as it enables risk and
  harm mitigation to be effectively targeted. This is especially the case on
  platforms that typically cater to a range of ages and where the types of data
  processing undertaken carry a higher risk of harm to children. Organisations are
  responsible for assessing risk and potential harm and demonstrating that they
  have effectively mitigated them. This includes any age assurance process that is
  in place.

  Age assurance involves processing personal data, meaning that:

            the approach used must be based on a thorough assessment of risk, and
             be proportionate to that risk;
            the approach used must be based on good data protection practice,
             particularly about transparency, fairness, lawfulness, accuracy, data
             minimisation and purpose limitation;
            the approach used must be explained clearly to child users, in an age
             appropriate way and conform with the code standard on transparency;53
             and
            organisations using age assurance must be able to demonstrate that the
             approach they are using conforms with the code and complies with data
             protection law.

  If organisations do not have a level of certainty about the age of their users that
  is appropriate to the risks to children, then the alternative is to apply the
  standards in the code to all users. This should mean that children will still
  receive some important protections in how their personal data is used. This will
  be the case even if organisations are unable to confirm the age of their users, or
  if a child or their parent/guardian has lied about their age. This should be done


  53
       4. Transparency | ICO




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  in a way that minimises disruption to access by adults and the collection of
  additional data, and should avoid adding friction to user experience.

  Multi-national organisations are required to conform to these standards for the
  UK and the Commissioner expects to see this being done globally, in order to
  meet the best interests of children globally.

  5.2 Next steps
  The data protection risks that the Commissioner outlines in this Opinion feed into
  some of the most serious online harms that affect children. Age assurance has
  the potential to be an important part of protecting children from other harms
  associated with inappropriate content or contact online. This protection is also an
  essential element of the Best interests of the child.

  However, these issues will primarily fall within OFCOM’s scope given their
  current role as VSP regulator and future role as online safety regulator. The
  Commissioner is working closely with Government, the DRCF, and other
  regulators to ensure a joined-up approach to regulation.54 Our work with Ofcom
  will promote a coherent approach to regulation and best practice in age
  assurance that is compliant with both the privacy requirements in data
  protection law and relevant legislative requirements to protect children from
  harmful material online.

  The Commissioner will continue to engage with relevant stakeholders, including
  Ofcom, the Children’s Commissioner, Government, and industry, as the
  understanding of emerging age assurance approaches develops. As part of this,
  the Commissioner welcomes engagement from interested parties, particularly
  about evidence of emerging age assurance techniques and their accuracy.

  We have launched a call for evidence alongside this opinion and we will continue
  to develop our approach to age assurance as new technology emerges and the
  market evolves.




  54
       Digital Regulation Cooperation Forum | ICO




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  Annex 1: Age assurance flow chart




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  Annex 2: Current uses of age assurance
  Age verification
  Age verification is primarily used by sites that provide goods or services that
  attract criminal or civil penalties for serving underage customers:

        online retailers who sell age-restricted products, for example alcohol,
         tobacco products including vape, and knives. There are 56 products
         subject to such restrictions in UK law; and
        providers of age-restricted services such as gambling.

  In these instances, the use of disclaimers by the provider, or reliance on user
  confirmation of age, is insufficient to comply with the law. Reliance on the user
  confirming publicly available or easily discoverable data such as date of birth is
  also insufficient.

  Verification is carried out through documentation, such as a passport, or credit
  reference checks. For example, where an individual holds a credit card, this may
  be used as a proxy indicator of age, since credit cards are restricted to people
  over the age of 18.

  There is a risk of excluding or indirectly discriminating against individuals who
  lack the necessary documentation or data, such as credit history. Organisations
  should therefore take a holistic approach to what hard identifiers they accept.
  Organisations should also take the Equality Act into account and the requirement
  to ensure reasonable adjustments for those with protected characteristics. For
  example, they may wish to consider accepting a broad range of hard identifiers
  such as a GP letter, a utility bill or letter from a social worker or social housing
  provider, rather than only relying on passports, driving licences or credit cards.

  Age assurance services are frequently provided to platforms or services by third
  parties. An advantage of third-party age assurance services is that they can,
  depending on the approach taken, provide an age assurance decision without
  the third party needing to provide the data controller with additional personal
  data about the subject.

  Most age verification services cannot be readily used to determine the age of a
  child as they only provide confirmation that the data subject is over or under 18.
  It is not a solution for age-appropriate design elements such as tailored
  transparency or nudging. Age verification could be used to determine age based
  on documentation, but this would be highly intrusive.

  We recommend that an appropriately certified supplier is used, or that ISS
  carrying out their own age verification certify the process that they use. For
  example, the Age Check Certification Scheme (ACCS) provides an independent
  check that providers meet the current industry standard, PAS 1296:2018.



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  Account confirmation
  Many platforms and services offer the option to have linked or family accounts.
  This means that there is a main account holder but additional profiles are set up
  for other users, such as children. As part of this, linked or family accounts can
  be used to confirm the age of an account or profile user with the main account
  holder.

  This is a useful way of enabling children access to an age appropriate version of
  a service, whilst ensuring there is parental control. It can be effective,
  particularly when different aspects of a service are aimed at different age
  groups, and users include a mix of adults and children. However, it relies on the
  parents or guardians being able and willing to actively set up different profiles
  and confirm each profile user’s age. It also depends on the level of certainty that
  the person overseeing the child’s access is genuinely the parent or legal
  guardian. There is a risk that they are not providing an accurate age for the child
  in order to allow them access to a service.

  Where the risks of the service are high, we expect a high degree of certainty
  that the person verifying and controlling the account is an appropriate adult.
  This may also require the use of age verification solutions.

  Children have the same rights as adults under UK GDPR.55 Even if a child is too
  young to understand the implications of their rights, they are still their rights,
  rather than anyone else’s such as a parent or guardian. You should therefore
  only allow parents to exercise these rights on behalf of a child if:

          the child authorises them to do so;
          the child does not have sufficient understanding to exercise the rights
           themselves; or
          it is evident that this is in the best interests of the child.

  This applies in all circumstances. This includes in an online context where the
  original consent for processing was given by the person with parental
  responsibility rather than the child.

  The Commissioner has published guidance on children’s information rights.56

  Age estimation
  Our engagement with industry so far suggests that age estimation products
  using a mix of biometric data, profiling and other information will become
  commercially available on a relatively short timescale. These include:


  55
     In Scotland there is a presumption that a child of 12 or over has sufficient understanding to be able to
     exercise their rights. In England and Wales there is no presumption, but it forms a useful guideline.
  56
     What rights do children have? | ICO




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            using computer vision-based approaches to estimate age from an image
             of the subject. The image may be captured in real time by the user’s
             mobile device camera or webcam. Some approaches additionally compare
             the real-time image to one from an accepted form of photographic ID to
             provide additional confirmation;
            using data derived from images such as facial geometry to make a similar
             determination; and
            analysing profiling data derived from the user’s activity on social media
             and other platforms.

  A number of other techniques are occasionally mentioned in academic literature
  and specialist press, but have yet to make notable progress towards commercial
  availability, including:

            voice analysis;
            hand geometry;
            Natural Language Processing (NLP); and
            behavioural analysis (this can also be applied to existing users, eg to
             detect a malicious actor attempting to impersonate a child, or a child
             attempting to impersonate an adult). Social media platforms may be well
             placed to develop these approaches given their existing profiling
             capabilities.

  Age estimation techniques generally use Artificial Intelligence (AI) algorithms to
  automate the interpretation of data. There is little evidence for the effectiveness
  and accuracy of these emerging approaches. It is likely that implementation of
  the Children’s code, coupled with upcoming legislation that aims to tackle online
  harms will help to stimulate the market and encourage further research and
  development.57




  57
       Guidance on AI and data protection | ICO




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  Annex 3: Economic Impact of Age Assurance
  The impact of age assurance is potentially far-reaching but in the interests of a
  proportionate assessment, we focus on:

        ISS Providers;
        data subjects;
        age assurance providers; and
        the ICO.

  The following table provides an overview of potential impacts that might arise for
  each of the affected groups. This is not an exhaustive list but covers those we
  perceive to have the highest likelihood and potential severity. This represents
  our understanding at the time of publication and we will continue to develop our
  analysis over time.




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ISS or Age Assurance
                                 Data subjects                     ICO                                Wider/ Societal
Providers

Positive Impacts (Benefits)

   Greater degree of                Improved safety for              The ICO will be in a             Potential for increase
    regulatory certainty.             children online and               better position to assess         innovation activity in age
   Levels the playing field          reduction in harms                compliance and take               assurance and related
    for providers that are            associated with accessing         appropriate regulatory            technologies.
    already compliant.                inappropriate materials           action where required.           Increased demand for
                                      and services.                    The ICO’s reputation              age assurance
   Easier to demonstrate
    accountability and               Potential for better              could be enhanced by              technology supply chain.
    compliance to                     targeted services                 being seen to take action        Reduction in the societal
    customers/end users and           resulting in an enhanced          in a particularly sensitive       harms arising from poor
    other stakeholders                online experience for             area.                             protection of children
                                      both adults and children.        Providing guidance within         online such as increased
   The opinion may obviate
    the need for controllers         Potential for better              the opinion may help              crime and poor
    to seek specific legal            protection of the personal        mitigate the burden of            educational attainment.
    advice on the matter and          data collected for age            regulatory action later.         Could help to realise
    hence reduce costs.               assurance through data           Less likelihood of                some of the government
                                      minimisation.                     complaints from                   policy objectives of the
   Reduced potential to be
    subject to regulatory                                               members of the public.            online safety bill.
    action by the ICO if the                                                                             Potential for societal
    opinion is followed.                                                                                  benefits from the
   Parents, guardians,                                                                                   improvement of
    carers and children may                                                                               efficiency and
    feel more confident about                                                                             effectiveness of public



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ISS or Age Assurance
                                 Data subjects                     ICO                               Wider/ Societal
Providers

    using products and                                                                                    services that rely directly
    services, increasing                                                                                  or indirectly on age
    demand and/or revenue                                                                                 assurance.
    for organisations.
   Easier to target services
    appropriately as adults
    will be easier to
    distinguish from children
    online.
   Increased demand for
    services from compliant
    age assurance providers
    and technology
    developers.


Negative Impacts (Costs)

   Compliance costs, which          Individuals may be               Potential for the ICO to         Potential for regulatory
    include familiarisation           restricted from using             be perceived as creating          overlap, depending on
    costs, may increase (eg           products and services             barriers to competition or        the final draft of the
    reviewing the opinion,            that they currently use.          innovation in certain             Online Safety Bill or
    seeking legal advice,            Services could become             sectors.                          resulting secondary
    amending services,                more expensive or less           Potential for the ICO to          legislation or codes
    implementing new age              effective.                        be perceived as not going         leading to uncertainty for




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ISS or Age Assurance
                                  Data subjects                    ICO                                Wider/ Societal
Providers

    assurance measures etc).         Individuals may be                far enough to protect             providers and data
   Potential for some                required to go through            children online.                  subjects.
    activities to be restricted       additional steps (eg             The ICO could be subject         Potential reduced
    or made no longer viable          submission of evidence,           to legal challenge from           demand or revenue for
    by the opinion, leading to        lengthier Ts and Cs or            ISS or age assurance              ISS or age assurance
    reduced revenues.                 additional tick boxes)            providers, or civil society       provider supply chains.
   Age assurance providers                                             groups that believe the
    and technology providers                                            opinion doesn’t go far
    of technologies that are                                            enough.
    now deemed non-
    compliant or higher risk
    may see reduced demand
    and revenues.
   Public authorities could
    become unable to
    effectively provide
    services.




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